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IN 'I`I-IE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

 

l`N RE: INTERIOR MOLDED DOORS Lead Civil Action No. 3:18-cv-00718-JAG
AN'I`I'I`RUST LITIGATION

 

IN RE: INTERIOR MOLDED DOORS Lead Civil Action No. 3:18-cv-00850-JAG
INDIRECT PURCHASER ANTITRUS'I`
LlTIGATION

 

 

OPINION
In these consolidated class actions, the plaintiffs allege that the defendants, Masonite
Corporation and Jeld-Wen, Inc., conspired to fix prices in the interior molded doors market in
violation of federal and state antitrust laws. Masonite has moved to transfer venue pursuant to
28 U.S.C. § l404(a) to the Middle District of Florida or alternatively the District of Delaware.'
For the reasons that follow, the Court will deny the motion.
I. BACKGROUND
Masonite, a Delaware corporation with its principal place of business in Florida, and
Jeld~Wen, a Delaware corporation with its principal place of business in North Carolina,
manufacture interior molded doors (“lMDs”) and “doorskins.” Doorskins account for about 70
percent of the manufacturing cost of IMDs. In 2012, Jeld-Wen acquired Craftmaster
Intemational, Inc. (“CMI”), a major doorskin manufacturer. After the merger, the defendants

collectively controlled 100 percent of the doorskin industry and roughly 85 percent of the IMD

 

‘ Jeld-Wen filed a memorandum in support of Masonite’s motion to transfer.

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market in the United States. Because the manufacturers comprising the other 15 percent of the
IMD market did not manufacture doorskins, they had to purchase doorskins from the defendants

In 2014, Jeld-Wen began raising doorskin prices to other IMD manufacturers, including
those with whom Jeld-Wen had long-term supply agreements One such manufacturer, Steves &
Sons, Inc., refused to pay the increased costs and tried to find another supplier. Steves
approached Masonite, the only other major doorskin manufacturer in North America, but
Masonite refused to enter into a long-term supply agreement with Steves.2 Shortly thereafter,
Masonite publicly announced that it would no longer sell doorskins to other IMD manufacturers,
leaving Jeld-Wen as the only major manufacturer of doorskins in North America' and,
consequently, Steves’ and other IMD manufacturers’ only option.

In October, 2016, Steves sued Jeld-Wen in the Eastem District of Virginia, alleging that
Jeld-Wen’s acquisition of CMI violated section 7 of the Clayton Act because it substantially
decreased competition in the residential door market.3 In February, 2018, ajury awarded Steves
$58 million ($175 million after trebling). The Court also ordered Jeld-Wen to completely divest
CMI. Jeld-Wen has moved for a new trial-a motion currently pending.

On the heels of the Steves verdict, two groups of plaintiffs4 began filing these lawsuits in
the Eastem District of Virginia against Masonite and Jeld-Wen. The direct purchaser

plaintiffss-those who purchased IMDs directly from the defendants_allege that Masonite and

 

2 According to the plaintiffs, Masonite offered to sell to Steves only on an as-needed basis for 37
percent more than Jeld-Wen’s price. Steves also considered foreign suppliers, but none could
meet Steves’ needs.

3 Steves & Sons, Inc. v. Jeld- Wen, Inc. , No. 3:16-cv-00545-REP.

4 The Court will refer to both groups collectively as the “plaintiffs.”

5 The named direct purchaser plaintiffs are Grubb Lumber Company, Inc., and Len-Co Lumber
Corporation. The direct purchaser plaintiffs have also named Jeld-Wen’s parent company, Jeld-
Wen Holding, Inc., as a defendant Like Jeld-Wen, Jeld-Wen Holding is incorporated in

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Jeld-Wen conspired with each other to adopt uniform price increases for IMDs after Jeld-Wen
acquired CMI in violation of section l of the Sherman Act. Soon thereafter, the indirect
purchaser plaintiffs°_those who purchased the defendants’ IMDs through a third-party, such as
a reseller_brought suit against the defendants They also allege that the defendants violated
section l of the Sherman Act. ln addition, the indirect purchaser plaintiffs assert violations of
various state antitrust laws, consumer protection laws, and unjust enrichment laws.

Masonite has moved to transfer venue to the Middle District of Florida or alternatively
the District of Delaware. The plaintiffs ask the Court to keep these consolidated actions in the
Eastem District of Virginia because of their close factual and legal relationship with Steves.

Il. DISCUSSION

“For the convenience of parties and witnesses, in the interest of justice, a district court
may transfer any civil action to any other district . . . where it may have been brought.”
28 U.S.C. § l404(a). In deciding whether to transfer venue, a decision that “is committed to the
district court’s sound discretion,” the Court makes two inquiries: “(l) whether the claims might
have been brought in the transferee forum, and (2) whether the interest of justice and
convenience of the parties and witnesses justify transfer to that forum.” Koh v. Microtek Im‘ern.,
Inc., 250 F. Supp. 2d 627, 630 (E.D. Va. 2003). The moving party “bears the burden of showing
that transfer is proper,” JTH Tax, Inc. v. Lee, 482 F. Supp. 2d 731, 736 (E.D. Va. 2007), and
“must also demonstrate that transfer does more than merely ‘shift the inconvenience’ to the other

party,” id. (quoting DMP Corp. v. Fruehaquorp., 617 F. Supp. 76, 77 (W.D.N.C. 1985)).

 

Delaware and maintains its principal place of business in North Carolina. The Court will refer to
Jeld-Wen and Jeld-Wen Holding as “Jeld-Wen.”
6 The named indirect purchaser plaintiffs are two corporations and nineteen individuals

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A. Proper Venues

The Court must first determine whether the plaintiffs could have brought their claims in
the Middle District of Florida or the District of Delaware. Because the Clayton Act provides
special jurisdiction and venue requirements for private antitrust actions, including claims under
the Sherman Act, the general venue provisions of 28 U.S.C. § 1391 do not apply here. See
15 U.S.C. § 22. Under the Clayton Act, a plaintiff may bring suit either “in the judicial district
whereof [the defendant] is an inhabitant” or “in any district wherein [the defendant] may be
found or transacts business.” Id. “To be found in a district for the purposes of the venue section
of the Clayton Act, a corporation must have duly authorized officers and agents carrying on the
business of the corporation within the district.” Reynolds Metals Co. v. Columbia Gas Sys., Inc. ,
669 F. Supp. 744, 747 (E.D. Va. 1987).

Here, each defendant “may be found” and “transacts business” in the Middle District of
Florida. 7 15 U.S.C. § 22; see Reynolds Metals Co., 669 F. Supp. at 747. Thus, venue would
have been proper in the Middle District of Florida, Furthermore, the defendants are both
incorporated in Delaware and thus “inhabitants” of Delaware. See ln re Automotive Refinishing
Paint Antitrust Litig., 358 F.3d 288, 293 n.6 (3d. Cir. 2004) (“Being an ‘inhabitant’ is held to
mean incorporated under the laws of that jurisdiction.”). Accordingly, venue also would have
been proper in the District of Delaware. Because the plaintiffs could have brought their claims
in either the Middle District of Florida or the District of Delaware, Masonite satisfied the first

requirement under § l404(a).

 

7 The Eastem District of Virginia also is an appropriate venue under the Clayton Act because
both defendants “may be found” in this district.

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B. F actors to Balance in Venue Motions

Next, courts must balance four factors: “(l) plaintiffs choice of forum, (2) convenience
of the parties, (3) Witness convenience and access, and (4) the interest of justice.” Pragmatus
AV, LLC v. Facebook, lnc., 769 F. Supp. 2d 991, 994-95 (E.D. Va. 2011) (quoting Heinz Ketller
GMBH & Co. v. Razor USA, LLC, 750 F. Supp. 2d 660, 667 (E.D. Va. 2010)).

1. The Plaintiffs’ Choice ofForum

The first factor weighs against transfer. Although “the plaintist choice of forum is
ordinarily entitled to substantial weight,” courts can disregard it “when the plaintiff selects a
forum other than its home forum and the claims bear little or no relation to the chosen forum.”
Koh, 250 F. Supp. 2d at 632. For Masonite to convince the Court to disregard the plaintiffs’
choice of forum, it must meet “the burden of demonstrating that the balance of convenience
among the parties and witnesses is strongly in favor of the forum to which transfer is sought.”
Id. (quoting Medicenters of Am., Inc. v. T& VRealty & Equip. Corp., 371 F. Supp. 1180, 1184
(E.D. Va. 1974)).

When none of the operative events took place in a plaintiffs chosen forum, “a motion to
transfer to the district in which the events occurred is likely to succeed.” Phillips v. Uber Techs.,
Inc., No. 3:15-cv-554, 2016 WL 165024, at * 2 (E.D. Va. Jan. 13, 2016). Courts, however, will
afford a plaintiffs choice of forum “substantial weight” when it “bears a substantial relation to
the cause of action.” Id. Here, none of the plaintiffs reside in Virginia, nor did any of the
operative events take place here. But these consolidated actions bear an undeniably strong
relation to Steves, a case decided-and still pending-in this district. Both cases concern the
IMD market, which is unusually susceptible to illegal price fixing schemes; both cases involve

Jeld-Wen’s conduct in the IMD market; and both cases involve IMD manufacturer plaintiffs

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alleging violations of antitrust laws. Because of the close relationship between these
consolidated actions and Steves, the Court affords substantial weight to the plaintiffs’ choice of
forum.

2. Convenience of the Parties and Witnesses

The convenience of the parties and the witnesses does not favor either granting or
denying the motion to transfer. “The party convenience factor includes assessment of the ease of
access to sources of proof, the cost of obtaining the attendance of witnesses, and the availability
of compulsory process.” Samsung Elecs. Co. v. Rambus, Inc., 386 F. Supp. 2d 708, 717 n.l3
(E.D. Va. 2005). Furthermore, “[t]ransfer is not appropriate merely to shift the hardships” from
one side to the other. Ajjini!y Memo)jy & Micro, Inc. v. K & Q Enters., Inc., 20 F. Supp. 2d 948,
955 (E.D. Va. 1998).

A number of factors support transfer. Regarding the Middle District of Florida,
Masonite’s corporate headquarters, main witnesses, and “documents and electronic records
containing information potentially relevan ” to these consolidated actions are located there, (Dk.
No. 82, Ex. l.)8 Jeld-Wen also operates two facilities in the Middle District of Florida, so Jeld-
Wen may have witnesses and relevant evidence there, Furthermore, two of the indirect
purchaser plaintiffs live in Florida,9 Regarding the District of Delaware, both defendants are
incorporated there, and the direct purchaser plaintiff Grubb Lumber is incorporated there and

maintains its principal place of business there,

 

8 All docket citations in this Opinion coincide with Lead Civil Action No. 3118-cv-00718-JAG.

9 The indirect purchaser plaintiffs’ original complaint included a named plaintiff, Andrew
Knight, who lives in the Middle District of Florida, In their amended complaint, however, the
indirect purchaser plaintiffs dropped Knight and added two additional Florida residents, though it
is not clear whether these two Floridians live in the Middle District of Florida.

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Other relevant factors, however, do not support transfer. First, Jeld-Wen maintains its
principal place of business in North Carolina, which is closer to this district than the Middle
District of Florida or the District of Delaware. Transfer to the Middle District of Florida would
simply swap which defendant is farther from the forum. Cf A/j'z`nity Memory & Micro, Inc., 20
F. Supp. 2d at 955.

Second, of the twenty-three named plaintiffs, only one lives in Delaware and two live in
Florida, The other twenty named plaintiffs either reside or do business in states other than
Florida and Delaware, including fourteen states across the country. Consequently, many
potential key witnesses and evidence will not be found in either Delaware or Florida, Transfer to
either the Middle District of Florida or the District of Delaware, therefore, will not constitute a
more convenient forum than this district. See Innovative Commc’ns Techs., Inc. v. Vivox, Inc.,
No. 2:12-cv-7, 2012 WL 4738979, at *5-6 (E.D. Va. Oct. 3, 2012) (“[G]iven that multiple
defendants are involved in this matter, and that relevant evidence, documents, and key witnesses
are located in several [forums], convenience of the parties and witnesses does not support a
decision to transfer this action at this time.”).

Moreover, a significant portion of the defendants’ evidence will likely consist of
electronically stored information, negating the need for close proximity to the source of the
evidence. In any event, Masonite has failed to show that it would be unable to produce any
witnesses or relevant evidence if these consolidated actions remain in this district. Masonite’s
claim that its “documents and electronic records” are located in the Middle District of .Florida,
therefore, has a “de minimis [effect] and [is] not entitled to substantial weight in the overall
balance.” Cobalt Boats, LLC v. Sea Ray Boats, Inc., No. 2:15-cv-2l, 2015 WL 1800274, at *3-4

(E.D. Va. Apr. 16, 2015). Accordingly, relevant factors both support and oppose transfer.

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3. Interest of Justice

The interest of justice also weighs against transfer. “The interest of justice encompasses
public interest factors aimed as ‘systemic integrity and faimess.”’ Samsung, 386 F. Supp. at 721
(quoting Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 30 (1988)). In some cases, the interest
of justice outweighs the other factors, even when those factors suggest a different outcome. See
Byerson v. Equifax Info. Servs., LLC, 467 F. Supp. 2d 627, 635 (E.D. Va. 2006). Courts consider
“the pendency of a related action, the court’s familiarity with applicable law, docket conditions,
access to premises that might have to be viewed, the possibility of unfair trial, the ability to join
other parties, and the possibility of harassment.” Pragmatus, 769 F. Supp. 2d at 996. The first
two considerations bear upon Masonite’s motion to transfer.lo

a. Pendency of Related Actions

The pendency of a related action in this district counsels against transfer. To promote
judicial economy, courts may deny a motion to transfer a case involving claims that are similar
to, but distinguishable from, claims in another case pending in the same district. See, e.g., Sony
Musz'c Entm ’t v. Cox Commc’ns, Inc., No. l:l8-cv-950, 2018 WL 6059386, at *3 (E.D. Va. Nov.
19, 2018) (noting that judicial economy weighed against transfer when a pending action in the
same district involved “the same [d]efendants and similar claims”).

Here, Steves and these consolidated actions share substantially similar underlying facts
and governing law, and they both involve Jeld-Wen as a defendant. Cf Samsung, 386 F. Supp.

2d at 386 (“Judicial economy and the interest of justice favor a venue which has already

 

10 The plaintiffs also argue that the Court should deny Masonite’s motion because this district
has a speedier docket than the other two forums, The plaintiffs’ initial proposed schedule with
summary judgment deadlines extending into 2021, however, undercuts their argument in that
respect. The speed of this district’s docket compared to the other two forums, therefore, does not
constitute a relevant consideration in the interest of justice,

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committed judicial resources to the contested issues and is familiar with the facts of the case.”).
Given the pendency of Steves in this district, transfer would undermine judicial economy,
b. The Court ’s Familiarily with Applicable Law

This factor does not clearly weigh in favor of or against transfer. Generally, “it is
preferable to have cases decided by courts familiar with the substantive law to be applied.” Gen.
Foam Plastics Corp. v. Kraemer Exporl Corp., 806 F. Supp. 88, 90 (E.D. Va. 1992). On the one
hand, Judge Robert E. Payne presided over the Steves trial so “[t]here is no additional efficiency
to be found [in] having a different judge in the same District as Judge Payne oversee this case as
opposed to one sitting in the Middle District of Florida or the District of Delaware.” (Dk. No.
85, at 1.)

At the same time, transfer to either the Middle District of Florida or the District of
Delaware would not involve any more efficiency than keeping these consolidated actions in this
district. First, all federal courts are equally capable of presiding over claims arising under
federal law. Second, the indirect purchaser plaintiffs bring various state law claims. Regardless
of the forum, the presiding court must decide claims arising under other states’ laws, and
Masonite has not demonstrated why either the Middle District of Florida or the District of
Delaware is better suited than this Court to hear such claims. In sum, the interest of justice
weighs against transfer.

III. CONCLUSION
Because the relevant factors weigh against transfer, the Court will deny the motion.
The Court will enter an appropriate Order.

Let the Clerk send a copy of this Opinion to all counsel of record.

 

Richmond, VA

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